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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
RAQUEL RUBY,                                                           :
                                                                       :
                                    Plaintiff,                         :
                                                                       :       21 Civ. 5200 (JPC)
                  -v-                                                  :
                                                                       :             ORDER
NET ELEMENT, INC., OLEG FIRER,                                         :
JON NAJARIAN, JOHN ROLAND, and                                         :
TODD RAARUP,                                                           :
                                                                       :
                                                                       :
                                    Defendants.                        :
                                                                       :
---------------------------------------------------------------------- X

JOHN P. CRONAN, United States District Judge:

        The Complaint in this action was filed on June 11, 2021. Dkt. 1. Defendants have not

appeared in this action, and the docket does not reflect whether Defendants have been served.

Pursuant to Federal Rule of Civil Procedure 4(m), “[i]f a defendant is not served within 90 days

after the complaint is filed, the court—on motion or on its own after notice to the plaintiff—must

dismiss the action without prejudice against that defendant or order that service be made within a

specified time.” Fed. R. Civ. P. 4(m).

        Plaintiff is ordered to file a status letter by November 17, 2021, describing (1) whether

service of the summons and Complaint has been made on Defendants, and (2) if service has not

been effected on Defendants, whether Plaintiff requests an extension of time to serve Defendants.

If Plaintiff requests an extension of time to effect service, he shall include in his letter an explanation

of why there is good cause to excuse his failure to serve Defendants within the 90-day deadline set

by Rule 4(m). See Fed. R. Civ. P. 4(m) (“[I]f the plaintiff shows good cause for the failure, the
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court must extend the time for service for an appropriate period.”). If service of the summons and

Complaint has been made on Defendants, Plaintiff must file proof of service on the docket no later

than November 17, 2021.

       SO ORDERED.

Dated: November 3, 2021                            __________________________________
       New York, New York                                   JOHN P. CRONAN
                                                          United States District Judge




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